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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                     CASE NO. 8:13CR138

                    Plaintiff,
                                                                MEMORANDUM
      vs.                                                        AND ORDER

DANNY JUNIOR BRAVO,

                    Defendant.


      This matter is before the Court on the Objection and Appeal of the Magistrate

Judge’s Detention Order (Filing No. 54) filed by Defendant Danny Junior Bravo

(“Bravo”). The Defendant has submitted a Brief in support of his position (Filing No. 55)

and the Government has submitted a response (Filing No. 56). Having considered the

record and the parties’ briefs, the Court finds that Bravo’s Objection should be

overruled.

                                       BACKGROUND

      This is the second time the Court has considered whether Bravo should be

released under the Bail Reform Act, 18 U.S.C. § 3142. A more detailed discussion of

the charges and allegations against Bravo are contained in the Court’s previous orders

(Filing Nos. 41, 53), and the Court will not repeat the allegations here. The Magistrate

ordered Bravo detained pending disposition of this case on May 1, 2013 (Filing No. 26).

The undersigned overruled Bravo’s objections to the detention order on May 22, 2013

(Filing No. 41). Bravo moved to reconsider detention on July 1, 2013 (Filing No. 43).

Based on a substance abuse evaluation completed on June 10, 2013, Bravo argues

that he should be released to the NOVA Treatment Community in Omaha, Nebraska, to
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enter a program for treatment of chemical and substance abuse. (Filing No. 43 at 1-2.)

Bravo claims that placement in such a program would provide conditions to reasonably

assure future appearance in court proceedings and further the interests of safety of the

community. (Id.)

      A hearing on Bravo’s Motion to Reconsider Detention was held on July 10, 2013.

At the hearing, Bravo presented evidence that NOVA would accept Bravo as of the date

of the hearing, and showed evidence of his income and an order of joint custody of his

children. (See Filing No. 51, Exs. 102, 103.) The Government presented a substance

abuse evaluation from Debra K. Davidson Counseling in Lincoln, Nebraska, which

recommended that Bravo participate in the Nebraska Standardized Model Residential

Substance Abuse Program.       (Id., Ex. 101.)   The Government also presented the

testimony of Special Agent James Slosson (“Agent Slosson”) recounting information

about Bravo’s alleged criminal activity, and summarizing the Government’s evidence

against Bravo.

      The Magistrate concluded that Bravo’s criminal activity was “wide-ranging and

devious.” Based on inconsistencies between Bravo’s self-reporting and his reporting to

Davidson Counseling, the Magistrate noted that Bravo’s main concern appeared to be a

release from detention rather than need for substance abuse treatment. The Magistrate

reasoned that Bravo was on conditional release in California when he allegedly violated

drug trafficking laws in Nebraska, resulting in the pending charges in this case. There

was no assurance that Bravo would not repeat such actions if he were again released

from detention.    Accordingly, the Magistrate denied Bravo’s Motion to Reconsider

Detention.

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                                      STANDARD

      “Unless additional evidence is received on review, the district judge reviews an

order of release or detention de novo on the record made before the magistrate judge.”

NECrimR 46.2(c). The Defendant has not submitted additional evidence, and the Court

will review the Detention Order based upon the record before the Magistrate.

                                     DISCUSSION

      Upon de novo review of the parties’ arguments and evidence, the Court again

concludes that the Objection to the Magistrate’s Order should be overruled. Pursuant to

the Bail Reform Act, a defendant may be detained pending trial only after a hearing,

held pursuant to 18 U.S.C. § 3142(f), and upon a finding “that no condition or

combination of conditions will reasonably assure the appearance of the person as

required and the safety of any other person and the community.” 18 U.S.C. § 3142(e).

At such a hearing, the United States bears the burden of proving risk of flight by a

preponderance of the evidence, and the burden of proving dangerousness by clear-and-

convincing evidence. See 18 U.S.C. § 3142(f).          A finding that no condition or

combination of conditions will reasonably assure the safety of the community must be

supported by clear and convincing evidence. 18 U.S.C. § 3142(f). A finding that no

condition or combination of conditions will reasonably assure the defendant's

appearance, must only be established by a preponderance of the evidence. United

States v. Orta, 760 F.2d 887, 891 (8th Cir.1985).

      A statutory presumption arises “that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of the

community if” a court “finds that there is probable cause to believe that the person

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committed an offense for which a maximum term of imprisonment of ten years or more

is prescribed in the Controlled Substances Act.” 18 U.S.C. § 3142(e)(3).                              In a

“presumption case,” the defendant bears a limited burden of production—not a burden

of persuasion—to rebut the presumption by coming forward with evidence he does not

pose a danger to the community or a risk of flight. United States v. Abad, 350 F.3d 793,

797 (8th Cir. 2003) (citing United States v. Mercedes, 254 F.3d 433, 436 (2d Cir.2001)).

        Bravo’s indictment for conspiracy is under 21 U.S.C. §§ 841(a)(1) and 846

carries a minimum sentence of 10 years imprisonment.                                  See 21 U.S.C.

841(a)(1)(A)(viii). The indictment itself provides probable cause that the presumption

applies in this case. See United States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010) (“A

grand jury indictment, by itself, establishes probable cause to believe that a defendant

committed the crime with which [s]he is charged.”) (citing United States v. Hazime, 762

F.2d 34, 37 (6th Cir.1985)); United States v. Leyba, 104 F. Supp. 2d 1182, 1183 (S.D.

Iowa 2000).1 Bravo does not address whether the presumption applies in this case, and

instead assumes that a presumption against detention applies. This argument ignores

that the conspiracy charges in the indictment carry a minimum sentence of 10 years.

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            The Eighth Circuit has not directly addressed this issue, but it appears that the majority of
Circuit Courts of Appeal agree that an indictment provides probable cause of the presumption in favor of
detention. See United States v. Cruz, 23 F.3d 395, at *1 (1st Cir.1994)(“The grand jury indictment ...
gave the district court probable cause to believe that appellant had committed a crime of violence.... This,
in turn, triggered the rebuttable presumption contained in § 3142(e).” (citing United States v. Dillon, 938
F.2d 1412, 1416 (1st Cir.1991)(per curiam))); United States v. Quartermaine, 913 F.2d 910, 916 (11th
Cir.1990) (“A grand jury indictment provides the probable cause required by the statute to trigger the
presumption.” (citing United States v. Hurtado, 779 F.2d 1467, 1479 (11th Cir.1985))); United States v.
Williams, 903 F.2d 844, at *1 (D.C. Cir. 1990)( “Courts of appeals, however, have uniformly held that a
judicial officer may rely on a grand jury indictment to establish probable cause for the purposes of
triggering the rebuttable presumption of section 3142(e).” (citing United States v. Vargas, 804 F.2d 157,
163 (1st Cir.1986); United States v. Suppa, 799 F.2d 115, 118–19 (3d Cir.1986); United States v.
Dominguez, 783 F.2d 702, 706 n. 7 (7th Cir.1986); United States v. Hurtado, 779 F.2d 1467, 1477–79
(11th Cir.1985); United States v. Contreras, 776 F.2d 51 (2d Cir.1985); United States v. Hazime, 762 F.2d
34, 37 (6th Cir.1985).

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Accordingly, the Court begins its analysis with a presumption “that no condition or

combination of conditions will reasonably assure the appearance of the person as

required and the safety of the community.” 18 U.S.C. § 3142(e)(3). Bravo, therefore,

must meet his burden of production to rebut the presumption.

      Courts consider four factors to determine whether the defendant has rebutted the

presumption of detention where it applies. The factors considered are: (1) the nature

and circumstances of the offense, (2) the weight of the evidence against the defendant,

(3) the history and characteristics of the defendant, and (4) the nature and seriousness

of the danger to any person or the community. 18 U.S.C. § 3142(g). If the defendant

meets his burden of production, the presumption favoring detention does not disappear

entirely, but remains a factor to be considered among those weighed by the court.

Abad, 350 F.3d at 797.      Bravo has not come forward with sufficient evidence to

overcome the presumption and, even if he had, the factors considered weigh in favor of

detention.

      Bravo has been charged in a large-scale methamphetamine conspiracy and

faces a substantial sentence, if convicted. Bravo presents no new evidence or matters

for consideration to alter the Court’s analysis of the nature and circumstances of the

alleged crime. By the very nature and circumstances of the presumption and the crimes

alleged, the first factor weighs in favor of detaining Bravo. Bravo has not challenged the

weight of the evidence against him, presented at each hearing.         That evidence is

significant and includes the testimony of several witnesses.       Thus, on the record

currently before the Court, the second factor also weighs in favor of detention. Neither



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party directly addresses the fourth factor, but when considered together with the

presumption of detention under § 3142(e), that factor weighs in favor of detention.

       As with the first appeal, Bravo’s argument in his present Objection focuses on the

third factor.   Bravo argues that he should be released because he is willing to be

subjected to all of the standard conditions of release in drug cases. Bravo argues that

he should be released to NOVA treatment because such treatment presents an

alternative to pretrial detention and reasonably assures Bravo’s appearance in Court

and public safety. The Court has carefully reviewed the record and cannot conclude

that the mere availability of the NOVA treatment program mitigates the Court’s concerns

in its previous orders. Based on the presumption of detention, and the analysis of the

evidence in the record, the Court concludes that detention is proper under the

circumstances. Accordingly,

       IT IS ORDERED that Defendant Danny Junior Bravo’s Objection to the

Magistrate’s Detention Order (Filing No. 54) is overruled.

       Dated this 2nd day of August, 2013.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 Chief United States District Judge




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